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                          UNITED STATESDISTRICT COURT
                          SOUTHERNDISTRJCTOF GEORGIA
                              BRUNSWICKDIVISION

UNITED STATESOF AMERICA                      ) cR 217-40-10
                                             )
                 v.                          )
                                             )
DEMETRIUS CONEY                              )



                               ORDEROF DISMISSAL

      The motionof the governmentfor an order dismissing,without prejudice,the

indictmentagainstDemetriusConeyis herebyGRANTED.The indictmentis

hereby dismissed, as to this defendant only, without      dice.
                              -t4
      So ORDERED. this        ,     cz




                                          GE, UNITEDSTATESDISTRICTCOURT
                                         UTHERN DISTRICTOF GEORGIA

Order of Dismissal
Demetrius Coney
cR 217-40-10
Prepared by AUSA Knoche
